                                                                                                                      Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 1 of 15



                                                                                                                  1   P. STERLING KERR, ESQ.
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                                                                                                                  2   GEORGE E. ROBINSON, ESQ.
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                                                                                                                                               UNITED STATES DISTRICT COURT
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                                                                                                                                                      DISTRICT OF NEVADA
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                                                                                                                  9
                                                                                                                       INTERNATIONAL MARKETS LIVE,                   Case No.: 2:18-cv-00187-JAD-GWF
                                                                                                                 10    INC., a New York corporation;
                                  ATTORNEYS AT LAW




                                                                                                                       CHRISTOPHER TERRY, an individual;
                                                                                                                 11                                                  OPPOSITION TO DEFENDANT
                                                                                                                                        Plaintiffs,                  SCOTT CARNEY’S MOTION TO
                                                                                                                 12                                                  DISMISS PLAINTIFF’S AMENDED
                                                                                                                       v.                                            COMPLAINT FOR LACK OF
                                                                                                                 13                                                  PERSONAL JURISDICTION,
                                                                                                                       SCOTT CARNEY, an individual; ETHAN            IMPROPER VENUE, AND TO
                                                                                                                 14    VANDERBUILT, an individual;                   DISMISS FOR FAILURE TO STATE A
                                                                                                                                                                     CLAIM, OR ALTERNATIVELY TO
                                                                                                                 15                    Defendants.                   TRANSFER

                                                                                                                 16

                                                                                                                 17
                                                                                                                             COMES NOW Plaintiffs INTERNATIONAL MARKETS LIVE (hereafter “IML”)
                                                                                                                 18

                                                                                                                 19   and CHRISTOPHER TERRY, by and through their attorneys the Law Offices of P. Sterling

                                                                                                                 20   Kerr, and hereby oppose Defendant SCOTT CARNEY’s Motion to Dismiss Pursuant to Fed.

                                                                                                                 21   R. Civ. P. 12(b)(2), 12(b)(3) and 12(b)(6).
                                                                                                                 22
                                                                                                                      ///
                                                                                                                 23
                                                                                                                      ///
                                                                                                                 24

                                                                                                                 25

                                                                                                                 26
                                                                                                                 27

                                                                                                                 28

                                                                                                                                                              Page 1 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 2 of 15


                 This Opposition is made and based upon all the papers and pleadings on file herein,
 1
     the Points and Authorities attached hereto, and such oral argument as may be adduced at a
 2

 3   hearing of this matter.

 4               DATED this 21st day of June, 2018.

 5                                                          LAW OFFICES OF P. STERLING KERR
 6

 7                                                          By:___ /s/ George E. Robinson _________
                                                               P. STERLING KERR, ESQ.
 8                                                             Nevada Bar No. 3978
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 9                                                             Nevada Bar No. 13956
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10
                                                               Henderson, Nevada 89074
11

12                         MEMORANDUM OF POINTS AND AUTHORITIES
13          I.      INTRODUCTION
14
                 The Court must deny CARNEY’S Motion to Dismiss because CARNEY has
15
     sufficient contacts with Nevada for the Court to have specific personal jurisdiction over these
16
     claims, because venue is proper, and because the claims have been properly pled as to fulfill
17

18   the requirements of FRCP 8(a)(2).1 CARNEY wants this Court to believe that he can sit

19   behind the protection of his computer screen and spread across the internet defamatory

20   statements alleging Plaintiffs have engaged in criminal acts and unethical business decisions
21   without consequence in order to enhance his own business ventures.
22
                 CARNEY repeatedly makes false statements in his Motion that he “did not perform
23
     any of the alleged acts in, direct his conduct to, or target the State of Nevada.” See Motion
24
     to Dismiss at pgs. 2, 4, 5. Defendant CARNEY travelled to Las Vegas regarding the subject
25

26   matter in question. Plaintiffs specified in the Amended Complaint that the tortious acts in

27

28
     1
         Plaintiffs do not dispute that this Court does not have general jurisdiction over Defendant CARNEY.

                                                      Page 2 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 3 of 15


     question were posted on the internet, and that the tortious statements were directed toward
 1
     the Plaintiffs including TERRY who lives in the State of Nevada. The Amended Complaint
 2

 3   states on page 2:

 4                   8.    In February of 2016, CARNEY travelled to Las Vegas,
                     Nevada to meet with Plaintiffs regarding Forex trading techniques.
 5
                     9.     While in Las Vegas, Nevada, TERRY and CARNEY record
 6
                     online videos regarding Forex trading from TERRY’s Las Vegas
 7                   residence.

 8                   10.    Since this time, the relationship between Plaintiffs and
                     CARNEY has degraded to CARNEY publishing tortious statements
 9                   regarding Plaintiffs on his websites and social media.
10
              Pursuant to the case law, the above allegations found in the Amended Complaint along
11
     with the statements quoted from CARNEY’s Facebook page are the only factual assertions
12
     necessary to establish specific personal jurisdiction of this Court over CARNEY. Venue is
13

14   proper in the District of Nevada for the same reasons that jurisdiction is proper, and the case

15   should not be dismissed or transferred due to venue concerns. Therefore, this Court should

16   deny Plaintiff’s Motion to Dismiss or Transfer this case as this case was properly filed in the
17   District of Nevada.
18
        II.      ANALYSIS
19
                 A. MOTION TO DISMISS STANDARD
20
              According to FRCP 12(b)(6) a court may dismiss a complaint for “failure to state a claim
21

22   upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A properly pled complaint must

23   provide "[a] short and plain statement of the claim showing that the pleader is entitled to relief."

24   FRCP 8(a)(2); Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). While Rule 8 does
25
     not require detailed factual allegations, it demands more than "labels and conclusions or a
26
     formulaic recitation of the elements of a cause of action. . . " Ashcroft v. Iqbal, 556 U.S. 662,
27
     678 (2009) (citation omitted) (internal quotations omitted). "Factual allegations must be enough
28

                                              Page 3 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 4 of 15


     to rise above the speculative level." Twombly, 550 U.S. at 555. Thus, to survive a motion to
 1
     dismiss, a complaint must contain sufficient factual matter to "state a claim to relief that is
 2

 3   plausible on its face." Iqbal, 556 U.S. at 678 (citation omitted).

 4          In Iqbal, the Supreme Court clarified the two-step approach to apply when considering

 5   motions to dismiss. First, the court must accept as true all well-pled factual allegations in the
 6
     complaint; however, legal conclusions are not entitled to the assumption of truth. Id. Mere
 7
     recitals of the elements of a cause of action, supported only by conclusory statements, do not
 8
     suffice. Id. Second, the court must consider whether the factual allegations in the complaint
 9
     allege a plausible claim for relief. Id. at 679. A claim is facially plausible when the plaintiff's
10

11   complaint alleges facts that allow the court to draw a reasonable inference that the defendant is

12   liable for the alleged misconduct. Id. at 678.
13   Where the complaint permits the court to infer more than the mere possibility of misconduct,
14
     the complaint has "alleged - but not shown - that the pleader is entitled to relief." Id. at 679
15
     (internal quotations omitted). When the allegations in a complaint have crossed the line from
16
     conceivable to plausible, plaintiff's claim must survive. See Twombly, 550 U.S. at 570.
17

18          A federal court must apply the substantive law of the forum state when a federal question

19   is not involved. See Cornett v. Gawker media, LLC, 2014 WL 2863093, at 5 (D. Nev. June 23,

20   2014); see also Erie Railroad Co. v. Tompkins, 304 U.S. 64, 78-80, 58 S.Ct. 817, 82 L.Ed.1188
21   (1938). Likewise, when “federal subject matter jurisdiction is based on diversity, courts apply
22
     the law of the forum state to determine which state’s statute of limitations to apply.” Id. (citing
23
     to Guaranty Trust Co. v. York, 326 U.S. 99, 110 (1945); see also Flowers v. Carville, 310 F.3d
24
     1118, 1123 (9th Cir. 2002)). As such Nevada substantive law applies here.
25

26          As to the request to dismiss pursuant to FRCP 12(b)(2) for lack of personal jurisdiction,

27   “[a]t the motion to dismiss stage, a plaintiff is generally required only to make out a prima facie

28   showing of personal jurisdiction to overcome a 12(b)(2) motion.” See Glencore Grain

                                              Page 4 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 5 of 15


     Rotterdam B.V. v. Shivnath Rai Harnarain Co., 284 F.3d 1114, 1119 (9th Cir. 2002).
 1
                B. THE DISTRICT COURT OF NEVADA HAS SPECIFIC PERSONAL
 2
                   JURISDICTION OVER THE CLAIMS MADE AGAINST CARNEY IN
 3                 THIS CASE

 4
            This Court has specific personal jurisdiction over the claims alleged in the Amended
 5
     Complaint pursuant to the Nevada long arm statute, and the recent federal case law outlining
 6
     the requirements of personal jurisdiction regarding allegations of tortious activity by a
 7

 8   defendant on the internet. As stated in CARNEY’s Motion, “Where, as here, no federal statute

 9   authorizes personal jurisdiction, the district court applies the law of the state in which the court
10   sits. Fed. R. Civ. P. 4(k)(1)(A); Panavision Int'l, L.P. v. Toeppen, 141 F.3d 1316, 1320 (9th
11
     Cir.1998).” Mavrix Photo, Inc. v. Brand Technologies, Inc., 647 F. 3d 1218 - Court of Appeals,
12
     9th Circuit 2011. The federal court has analyzed the Nevada statute, “Nevada's long-arm statute
13
     permits the exercise of jurisdiction to the same extent as the Constitution. Nev.Rev.Stat. §
14

15   14.065 (2001). Hence, we consider only the constitutional principles of due process which

16   require that RII have minimum contacts with Nevada ‘such that the maintenance of the suit

17   does not offend traditional notions of fair play and substantial justice.’ Int'l Shoe Co. v.
18   Washington, 326 U.S. 310, 316, 66 S.Ct. 154, 90 L.Ed. 95 (1945).” Rio Properties, Inc. v. Rio
19
     Intern. Interlink, 284 F. 3d 1007 (9th Cir. 2002).
20
            The Ninth Circuit uses an analysis of three elements to determine whether personal
21
     jurisdiction over a defendant exists, “(1) The non-resident defendant must purposefully direct
22

23   his activities or consummate some transaction with the forum or resident thereof; or perform

24   some act by which he purposefully avails himself of the privilege of conducting activities in the

25   forum, thereby invoking the benefits and protections of its laws; (2) the claim must be
26
     one which arises out of or relates to the defendant's forum-related activities; and (3) the exercise
27
     of jurisdiction must comport with fair play and substantial justice, i.e. it must be reasonable.
28

                                              Page 5 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 6 of 15


     Schwarzenegger, 374 F.3d at 802 (quoting Lake v. Lake, 817 F.2d 1416, 1421 (9th
 1
     Cir.1987) (emphases added)); Mavrix Photo, Inc. v. Brand Technologies, Inc., 647 F. 3d 1218
 2

 3   (9th Cir. 2011).

 4          The Mavrix case goes on to discuss the first factor in the context of a tort case like this

 5   one. “The ‘effects’ test, which is based on the Supreme Court's decision in Calder v. Jones,
 6
     465 U.S. 783, 104 S.Ct. 1482, 79 L.Ed.2d 804 (1984), requires that ‘the defendant allegedly
 7
     must have (1) committed an intentional act, (2) expressly aimed at the forum state, (3) causing
 8
     harm that the defendant knows is likely to be suffered in the forum state.’ Brayton Purcell, 606
 9
     F.3d at 1128 (quoting Yahoo!, 433 F.3d at 1206). Id. at 1228.
10

11          Here, the Amended Complaint quotes CARNEY’s Facebook page which states that

12   CARNEY is explicitly targeting “Chris” and #ChrisTerry, referring to TERRY, and explicitly
13   talking about Las Vegas. See Amended Complaint at p. 2-3. It is alleged in the Amended
14
     Complaint CARNEY knows that TERRY lives in Nevada because CARNEY was making
15
     videos at TERRY’s residence. Id.
16
            The Mavrix case is important to discuss in this situation because there is an analysis of
17

18   personal jurisdiction in the context of website and internet activity. The Mavrix states that the

19   defamatory acts must be “‘expressly aimed at the forum state’ . . . In prior cases, we have

20   struggled with the question whether tortious conduct on a nationally accessible website is
21   expressly aimed at any, or all, of the forums in which the website can be viewed. See, e.g.,
22
     Brayton Purcell, 606 F.3d at 1129-31; Pebble Beach, 453 F.3d at 1156-58; Rio Props., Inc. v.
23
     Rio Int'l Interlink, 284 F.3d 1007, 1019-21 (9th Cir.2002); Panavision Int'l, L.P. v. Toeppen,
24
     141 F.3d 1316, 1321-22 (9th Cir.1998); Cybersell, 130 F.3d at 417. On the one hand, we have
25

26   made clear that "maintenance of a passive website alone cannot satisfy the express aiming

27   prong." Brayton Purcell, 606 F.3d at 1129. On the other, we have held that "operating even a

28   passive website in conjunction with `something more' — conduct directly targeting the forum

                                             Page 6 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 7 of 15


     — is sufficient." Rio Props., 284 F.3d at 1020. In determining whether a nonresident defendant
 1
     has done "something more," we have considered several factors, including the interactivity of
 2

 3   the defendant's website, e.g., Pebble Beach, 453 F.3d at 1153-54, 1158; Cybersell, 130 F.3d at

 4   417-20; the geographic scope of the defendant's commercial ambitions, e.g., Pebble Beach, 453

 5   F.3d at 1156-58; Rio Props., 284 F.3d at 1020-21; and whether the defendant "individually
 6
     targeted" a plaintiff known to be a forum resident, e.g., Brayton Purcell, 606 F.3d at 1129;
 7
     Pebble Beach, 453 F.3d at 1156-57; Panavision, 141 F.3d at 1321-22.
 8
            Here, there are personal statements about TERRY that attack his personal character and
 9
     integrity. TERRY is a resident of Nevada. CARNEY continues to make clear misstatements in
10

11   his Motion to Dismiss regarding the facts of the Amended Complaint as if CARNEY did not

12   bother to read the pleading. CARNEY states that “Carney’s activities, as alleged or otherwise,
13   do not relate to, do not target, nor are directed toward Nevada.” See Motion to Dismiss at p. 4.
14
     Further stating, “none of the actions he is accused of committing were directed towards
15
     Nevada.” See Motion to Dismiss at p. 5. The language of the Amended Complaint and
16
     CARNEY’s online statements obviously contradict this statement. On pages 2 and 3 of the
17

18   Amended Complaint, Plaintiffs allege:

19                  17.      On or about March 10, 2018, CARNEY posts, “Harmonic
                    Traitor Update: iMarketsLive has filed a $4million defamation
20                  lawsuit against myself and 3 other individuals. They know that I
                    have a $100 mil ip civil suit in the works! But Chris, BIG
21                  MISTAKE! These deceit that you so easily employ to grow your
22                  scheme in the name of my work is over! I am filing both a SLAAP
                    and countersuit, just in time for the big iml Vegas Expo. If you an
23                  iml affiliate, DELETE ME NOW and the REAL Harmonic
                    TRADERS can stay tuned. #HarmonicTakeover #imarketslive
24                  #ChrisTerry #harmonictraitors #GetYoPopcorn”
25
                    18.      On or about April 4, 2018, CARNEY posts, “Just recd 2nd
26                  complaint from imarketslive - serving me papers twice on their
                    $4million defamation lawsuit. At this point, it's harassment. If you
27                  are in iml, iml group or affiliated or know someone who is, you need
                    to know that your so-called leaders are suing the very guy (ME) who
28                  created the work they are copying. If you have any respect for me,

                                             Page 7 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 8 of 15


                      my work and most important, YOURSELF, LEAVE IML NOW!
 1                    Any iml member or rep that sends me a confirmed cancellation of
                      imarketslive membership will get GOLD MEMBERSHIP and
 2
                      SOFTWARE         FREE      30-days.  Send     to   ht@ht.com
 3                    #HarmonicTakeover #Dryland #HarmonicKarma #CFTCBitch
                      #30daystilimarketslivetakedown”
 4
                      19.     On or about March 16, 2018, CARNEY posts, “What's
 5                    #HarmonicTakeover? The #iml Titanic! Have fun rising in Vegas as
                      you hit the iceberg while I watch from dry land! 30Days.”
 6

 7           Plaintiffs’ allegations contain quotes from CARNEY’s Facebook page which state that

 8   CARNEY is explicitly targeting “Chris” and #ChrisTerry, referring to TERRY, and explicitly
 9   talking about Las Vegas. It is alleged in the Amended Complaint CARNEY knows that TERRY
10
     lives in Nevada because CARNEY was making videos at TERRY’s residence.2 It is
11
     incontrovertible and a nonsensical claim that the conduct alleged in the Amended Complaint is
12
     not directed towards TERRY and Nevada. The mere omission of the paragraphs in the
13

14   Amended Complaint for his Motion to Dismiss does not make the allegations disappear from

15   the pleading.

16                C. VENUE IS PROPER IN THE DISTRICT OF NEVADA
17           The law suit should not be dismissed pursuant to FRCP 12(b)(3) as venue is proper in
18
     the state of Nevada. 28 U.S.C. 1391(b) states:
19
                      (b)Venue in General.—A civil action may be brought in—
20
                      (1) a judicial district in which any defendant resides, if all
21                        defendants are residents of the State in which the district is
22                        located;

23                    (2) a judicial district in which a substantial part of the events or
                          omissions giving rise to the claim occurred, or a substantial part
24                        of property that is the subject of the action is situated; or
25
                      (3) if there is no district in which an action may otherwise be
26                        brought as provided in this section, any judicial district in which
                          any defendant is subject to the court’s personal jurisdiction with
27                        respect to such action.

28   2
      These videos are readily assessable on the internet. One video can be found at
     https://www.youtube.com/watch?v=0_5eKdhDnPM.

                                                    Page 8 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 9 of 15


            Pursuant to the statute, venue in the District of Nevada is proper. 28 U.S.C 1391(b)(1)
 1
     does not apply as the Defendants in this case are not residents of the same state, CARNEY and
 2

 3   VANDERBUILT are from Florida and California respectively. 28 U.S.C 1391(b)(2) does not

 4   necessarily apply either because the defamatory statements leading to the claims were posted

 5   on the internet. If 28 U.S.C 1391(b)(2) does apply, then Nevada would be proper as some of
 6
     the statements were purposefully and explicitly directed towards a Nevada resident. Pursuant
 7
     to 28 U.S.C 1391(b)(3), this claim is proper in the District of Nevada as this Court has personal
 8
     jurisdiction over CARNEY because of the actions taken by CARNEY in coming to the state of
 9
     Nevada regarding the subject matter in question and his tortious statements directed towards
10

11   TERRY and the state of Nevada. A through analysis of jurisdiction was presented above.

12              D. THE EVALUATION OF THE FACTORS REGARDING VENUE
                   INDICATE THAT THIS CASE SHOULD NOT BE TRANSFERRED TO
13                 THE SOUTHERN DISTRICT OF FLORIDA
14
            This Court should deny CARNEY’s request to transfer this case to Florida pursuant to
15
     28 U.S.C 1404. CARNEY should not be able to come to Nevada and direct tortious statements
16
     against a person who resides in the state of Nevada to boost his own business venture, and then
17

18   ask the Court to transfer the case for his convenience.

19          The pertinent language of 28 U.S.C. 1404 states “(a) For the convenience of parties and

20   witnesses, in the interest of justice, a district court may transfer any civil action to any other
21   district or division where it might have been brought or to any district or division to which all
22
     parties have consented.” The federal court has expounded on 28 U.S.C. 1404 stating:
23
                    Under § 1404(a), the district court has discretion "to adjudicate
24                  motions for transfer according to an individualized, case-by-case
                    consideration of convenience and fairness.'" A motion to transfer
25
                    venue under § 1404(a) requires the court to weigh multiple factors
26                  in its determination whether transfer is appropriate in a particular
                    case. Id. For example, the court may consider: (1) the location where
27                  the relevant agreements were negotiated and executed, (2) the state
                    that is most familiar with the governing law, (3) the plaintiff's choice
28                  of forum, (4) the respective parties' contacts with the forum, (5) the

                                              Page 9 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 10 of 15


                    contacts relating to the plaintiff's cause of action in the chosen
 1                  forum, (6) the differences in the costs of litigation in the two forums,
                    (7) the availability of compulsory process to compel attendance of
 2
                    unwilling non-party witnesses, and (8) the ease of access to sources
 3                  of proof. Additionally, the presence of a forum selection clause is a
                    "significant factor" in the court's § 1404(a) analysis. A forum
 4                  selection clause, however, is not dispositive. Jones v. GNC
                    Franchising, Inc., 211 F. 3d 495 (9th Cir. 2000) (internal citations
 5                  omitted).
 6
            From the start of his Motion to Dismiss, CARNEY attempts to falsely garner sympathy
 7
     from this Court, stating numerous times that he is disabled. CARNEY has been in a wheel chair
 8
     for decades, and this was the case when he travelled to Las Vegas to meet with TERRY, and
 9
     throughout their relationship. It is not a recent occurrence which has disabled him, and at all
10

11   times relevant to this case, CARNEY has been in a wheel chair.

12          In this case, CARNEY came to Nevada to TERRY’s residence and produced videos at
13   TERRY’s residence regarding the FOREX trading which the defamatory statements relate to.
14
     CARNEY posts (publishes) defamatory statements for the world to see on Facebook. Moroever,
15
     CARNEY intentionally directed these statements against a Nevada resident and included
16
     TERRY’S relation to Nevada’s in the posts. The governing law is not at issue in this situation
17

18   as this is not a contract case with a choice of laws provision. CARNEY’s legal fees should not

19   be at issue as it appears that CARNEY has chosen a Chicago firm to represent him. This

20   Chicago firm would have to associate with Florida counsel just as it has associated with Nevada
21   counsel. CARNEY nonsensically argues that some of his witnesses are in Washington DC, so
22
     the case should be transferred to Florida. Clearly, the problems with Washington DC witnesses
23
     and compulsory attendance would be the same if this case was in Washington DC or Nevada.
24
            The evaluation of the factors in Jones indicates that the case should not be transferred
25

26   to the Southern District of Florida, therefore the Court should deny Defendant’s Motion for

27   Inconvenient Forum.

28

                                             Page 10 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 11 of 15


                E. THE CLAIMS IN THE COMPLAINT ARE PROPER AND SHOULD NOT
 1                 BE DISMISSED PURSUANT TO FRCP 12(b)(6)
 2
            None of the four claims made against the CARNEY should be dismissed for failure to
 3
     state a claim upon which relief can be granted. First, Plaintiffs have properly pled the elements
 4
     of a defamation claim pursuant to Nevada case law, and this Court should deny the request to
 5
     dismiss this claim pursuant to FRCP 12(b)(6).
 6

 7          The Court must analyze the Motion to Dismiss with the understanding that the

 8   requirement of Plaintiff pursuant to FRCP 8(a)(2) is to provide “a short and plain statement of
 9   the claim showing that the pleader is entitled to relief.” Plaintiff has fulfilled this requirement
10
     in each of the claims against CARNEY.
11
            As cited in CARNEY’S Motion, “Under Nevada common law, defamation requires ‘(1)
12
     a false and defamatory statement of fact by the defendant concerning the plaintiff; (2) an
13

14   unprivileged publication to a third person; (3) fault, amounting to at least negligence; and (4)

15   actual or presumed damages.’ Pope v. Motel 6, 121 Nev. 307, 114 P.3d 277, 282 (2005).” Tsao

16   v. Desert Palace, Inc., 698 F. 3d 1128 (9th Cir. 2012).
17          The general allegations section of the First Amended Complaint quote some of the
18
     statements in question. CARNEY’s statements state that, amongst other things, Plaintiffs are
19
     running a federally illegal scheme and that Plaintiffs’ business is going to fail or “sink like the
20
     Titanic.” See Amended Complaint at p. 2-3. In the Amended Complaint, Plaintiffs allege that
21

22   these statements are false. Id. at 4. Additionally, these statements are considered defamation

23   per se pursuant to Nevada case law as they impute a criminal act and lack of fitness for business.

24                  Certain classes of defamatory statements are considered so likely to
                    cause serious injury to reputation and pecuniary loss that these
25
                    statements are actionable without proof of damages. The four types
26                  of slander historically designated as defamatory per se are false
                    statements made involving: (1) the imputation of a crime; (2) the
27                  imputation of having a loathsome disease; (3) imputing the person's
                    lack of fitness for trade, business, or profession; and (4) imputing
28                  serious sexual misconduct. No proof of any actual harm to

                                             Page 11 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 12 of 15


                    reputation or any other damage is required for the recovery of
 1                  damages for these four kinds of slander. "Otherwise stated, proof of
                    the defamation itself is considered to establish the existence of some
 2
                    damages, and the jury is permitted, without other evidence, to
 3                  estimate their amount." K-Mart Corporation v. Washington, 866 P.
                    2d 274 (Nev. 1993).
 4
            The statements in question were published on the internet to third parties. Id. Damages
 5
     for defamation per se are actionable without proof of damages. See Id. Therefore, the
 6

 7   defamation claims have been properly noticed in the Amended Complaint against CARNEY.

 8          The evaluation of the defamation claim is very similar to the Trade Libel claim. All of
 9   the elements of the trade libel claim have been properly pleaded in the Amended Complaint.
10
     For trade libel, it is necessary to plead that the defendant published a statement about Plaintiffs’
11
     business; which disparages the business; the statement was false; and defendant was at least
12
     negligent in making the statement. Bongiovi v. Sullivan, 122 Nev. 556, 138 P.3d 433 (2006);
13

14   Chowdry v. NLVH, Inc., 109 Nev. 478, 851 P.2d 459 (1993). These elements were covered in

15   the paragraphs above, and this claim is a valid one which should not be dismissed pursuant to

16   FRCP 12(b)(6).
17          The tort claims of Tortious Interference with Contractual Relations and Tortious
18
     Interference with Prospective Economic Advantage claims should not be dismissed as they have
19
     been properly pled in the Amended Complaint. As for Tortious Interference with Contractual
20
     Relations, the Amended Complaint states:
21

22                  Plaintiff IML had contractual relationships with customers and
                    individual representatives who desired participate in receiving
23                  educational products for Forex markets. Defendants know of these
                    relationships. Defendants spread false information and affirmatively
24                  filed false complaints with regulators with the intent of disrupting
                    Plaintiff’s relationships with its customers. Defendants’ conduct
25
                    was not legally justified. As a direct and proximate result of
26                  Defendants’ interference with IML’s contractual relationships,
                    Plaintiff has been harmed in amount in excess of one million dollars
27                  ($1,000,000.00). See Amended Complaint at p. 5.

28          Plaintiff IML has alleged valid and existing contracts with representatives regarding

                                              Page 12 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 13 of 15


     Forex educational products, Defendant knew of the contracts, and the contracts were disrupted.
 1
     All of the required elements are in the claim for relief, and Defendant CARNEY’s motion
 2

 3   should be denied.

 4          CARNEY asks the Court to dismiss the Tortious Interference with Economic Advantage

 5   claim as well, but, like his request regarding the previous claim of Tortious Interference with
 6
     Contractual Relations, his request is without merit. CARNEY states that Plaintiffs failed to
 7
     allege what prospective relationship has been interfered with when the face of the Amended
 8
     Complaint states that IML “had prospective contractual relationships with customers and
 9
     individual representatives who desired [to] participate in receiving educational products for
10

11   Forex markets.” Id. at p. 6. The Amended Complaint states that Carney knew about the

12   prospective relationships, intended to prevent them, and the Defendants suffered damage as a
13   result. This is all that is necessary pursuant to the notice pleading requirements of FRCP 8(a)(2),
14
     and the request to dismiss should be denied.
15
                F. LEAVE TO AMEND SHOULD BE GRANTED IN ORDER TO AMEND
16                 PERCEIVED DEFICIENCIES IN THE AMENDED COMPLAINT
17          Alternatively, FRCP 15(a) directs that leave shall be freely given to amend a pleading
18
     when justice so requires. Insofar as this Court finds the cause of action in Plaintiffs’ Amended
19
     Complaint to be improperly pled, Plaintiffs requests leave of this Court to amend the Complaint
20
     accordingly.
21

22   ///

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                                             Page 13 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 14 of 15


        III.      CONCLUSION
 1
               For the foregoing reasons, Plaintiffs respectfully request that the Court deny
 2

 3   CARNEY’s Motion to Dismiss in its entirety as it is without merit.

 4             DATED this 21st day of June, 2018.

 5

 6
                                                    LAW OFFICES OF P. STERLING KERR
 7

 8                                                  By:__ /s/ George E. Robinson __________
                                                       P. STERLING KERR, ESQ.
 9                                                     Nevada Bar No. 3978
                                                       GEORGE E. ROBINSON, ESQ.
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                                                       Nevada Bar No. 9667
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                                            Page 14 of 15
     Case 2:18-cv-00187-JAD-GWF Document 25 Filed 06/21/18 Page 15 of 15


                                     CERTIFICATE OF SERVICE
 1
            The undersigned hereby certifies on June 21, 2018, a true and correct copy of
 2

 3   OPPOSITION TO DEFENDANT SCOTT CARNEY’S MOTION TO DISMISS

 4   PLAINTIFF’S       AMENDED          COMPLAINT          FOR     LACK       OF     PERSONAL

 5   JURISDICTION, IMPROPER VENUE, AND TO DISMISS FOR FAILURE TO STATE
 6
     A CLAIM, OR ALTERNATIVELY TO TRANSFER was served to the following at their
 7
     last known address(es), facsimile numbers and/or e-mail/other electronic means, pursuant to:
 8

 9          ___X___        BY E-MAIL AND/OR ELECTRONIC MEANS: addressees (s)
                           having consented to electronic service, I via e-mail, Electronic
10
                           Service through the Court’s electronic filing system, or other
11                         electronic means to the e-mail address(es) of the addressee(s).

12          Adam Wolek
            Taft Stettinius & Hollister
13          111 E. Wacker Drive, Suite 2800
14          Chicago, IL 60601
            awolek@taftlaw.com
15
            Daniel McNutt
16          McNutt Law Firm
            625 South 8th St.
17          Las Vegas, NV 89101
18          drm@mcnuttlawfirm.com

19                                        /s/ Lisa Peters
                                          _________________________________
20                                        An employee of the LAW OFFICES OF
                                          P. STERLING KERR
21

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